                 Case 2:16-cr-00017-TOR                   ECF No. 97                filed 10/19/16         PageID.400 Page 1 of 7
                                                                                                                                          FILED IN THE
 2$2%       5HY  -XGJPHQWLQD&ULPLQDO&DVH                                                                               U.S. DISTRICT COURT
                                                                                                                                EASTERN DISTRICT OF WASHINGTON
                6KHHW5HYLVHGE\:$('

                                                                                                                                  Oct 19, 2016
                                              81,7('67$7(6',675,&7&2857                                                           SEAN F. MCAVOY, CLERK

                                                (DVWHUQ'LVWULFW RI :DVKLQJWRQ
           81,7('67$7(62)$0(5,&$                                           JUDGMENT IN A CRIMINAL CASE
                      V.
                                                                             &DVH1XPEHU            2:16CR00017-TOR-1
              JESUS CORTEZ-HERNANDEZ
                                                                             8601XPEHU             57510-208; 35707-208

                                                                                    Amy H. Rubin
                                                                             'HIHQGDQW¶V$WWRUQH\




 THE DEFENDANT

 ✔SOHDGHGJXLOW\WRFRXQW V
 G                                     1 and 2 of the Indictment
 G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
    ZKLFKZDVDFFHSWHGE\WKHFRXUW
 G ZDVIRXQGJXLOW\RQFRXQW V
    DIWHUDSOHDRIQRWJXLOW\

 7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

 Title & Section                             Nature of Offense                                                                        Offense Ended Count
21 U.S.C. § 841(a)(1),(b)(1)(B)           Possession with Intent to Distribute 100 Grams or More of a Mixture or                         11/11/15    1
                                          Substance Containing a Detectable Amount of Heroin
21 U.S.C. § 841(a)(1),(b)(1)(C)           Distribution of a Mixture or Substance Containing a Detectable Amount of                       11/11/15        2
                                          Heroin

        7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                       7         RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
 WKH6HQWHQFLQJ5HIRUP$FWRI
 G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
 ✔&RXQW V
 G                3 of the Indictment                      ✔ LV
                                                           G           G DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
          ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
 RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
 WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                               10/19/2016
                                                             'DWHRI,PSRVLWLRQRI-XGJPHQW
                                                                              LRQRI-XGJPH
                                                                                         PHQQW
                                                                                            QW
                                                                                             W




                                                             6LJQDWXUHRI-XGJH
                                                                              GJH




                                                             The Honorable Thomas O. Rice                          Chief Judge, U.S. District Court
                                                             1DPHDQG7LWOHRI-XGJH
                                                             


                                                                                                    10/19/2016
                                                             'DWH
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               Case 2:16-cr-00017-TOR                   ECF No. 97         filed 10/19/16          PageID.401 Page 2 of 7
$2%    5HY -XGJPHQWLQ&ULPLQDO&DVH
           6KHHW²,PSULVRQPHQW

                                                                                                         -XGJPHQW²3DJH   2       RI   7
'()(1'$17 JESUS CORTEZ-HERNANDEZ
&$6(180%(5 2:16CR00017-TOR-1


                                                              IMPRISONMENT

       7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH)HGHUDO%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUDWRWDO
WHUPRI           63 months




   ✔ 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV
   G
 Defendant receive credit for the time served in federal custody prior to sentencing in this matter since 11/11/2015 and be housed at FCI
 Phoenix, AZ.
 Defendant participate in the BOP Inmate Financial Responsibility Program.

   ✔ 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO
   G

   G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
       G     DW                                      G DP     G SP         RQ                                              

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

   G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
       G     EHIRUHSPRQ                                              

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

       G     DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                    RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




       'HIHQGDQWGHOLYHUHGRQ                                                              WR

DW                                                   ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



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                 Case 2:16-cr-00017-TOR                   ECF No. 97           filed 10/19/16         PageID.402 Page 3 of 7
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             6KHHW²6XSHUYLVHG5HOHDVH

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'()(1'$17 JESUS CORTEZ-HERNANDEZ
&$6(180%(5 2:16CR00017-TOR-1
                                                          SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI                   4 years




7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVRIVXSHUYLVLRQDVZHOODVZLWKDQ\VSHFLDOFRQGLWLRQVRIVXSHUYLVLRQVHWIRUWKEHORZ
                                          STANDARD CONDITIONS OF SUPERVISION

       7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH

      7KH GHIHQGDQW VKDOO QRW XQODZIXOO\ SRVVHVV D FRQWUROOHG VXEVWDQFH 7KH GHIHQGDQW VKDOO UHIUDLQ IURP DQ\ XQODZIXO XVH RI D
       FRQWUROOHGVXEVWDQFHLQFOXGLQJPDULMXDQDZKLFKUHPDLQVLOOHJDOXQGHUIHGHUDOODZ7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVW
       ZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWVWKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW

           *  7KH DERYH GUXJ WHVWLQJ LV VXVSHQGHG EDVHG RQ WKH FRXUW¶V GHWHUPLQDWLRQ WKDW WKH GHIHQGDQW SRVHV D ORZ ULVN RI IXWXUH
           VXEVWDQFHDEXVH &KHFNLIDSSOLFDEOH

        ✔7KHGHIHQGDQWPXVWQRWRZQSRVVHVVRUKDYHDFFHVVWRDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUGDQJHURXVZHDSRQ
       *
         LHDQ\WKLQJWKDWZDVGHVLJQHGRUZDVPRGLILHGIRUWKHVSHFLILFSXUSRVHRIFDXVLQJERGLO\LQMXU\RUGHDWKWRDQRWKHUSHUVRQ
        VXFKDVQXQFKDNXVRUWDVHUV  &KHFNLIDSSOLFDEOH

          ✔7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU &KHFNLIDSSOLFDEOHVHH 
           *
           86&  D G DOO IHORQLHV FULPHV XQGHU &K $ FULPHV RI YLROHQFH DQG DWWHPSWV RU FRQVSLUDF\ WR FRPPLW WKHVH
           FULPHV 
       * 7KH GHIHQGDQW VKDOO FRPSO\ ZLWK WKH UHTXLUHPHQWV RI WKH 6H[ 2IIHQGHU 5HJLVWUDWLRQ DQG 1RWLILFDWLRQ $FW  86& 
         HW VHT  DV GLUHFWHG E\ WKH SUREDWLRQ RIILFHU WKH %XUHDX RI 3ULVRQV RU DQ\ VWDWH VH[ RIIHQGHU UHJLVWUDWLRQ DJHQF\ LQ
        ZKLFKKHRUVKHUHVLGHVZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH &KHFNLIDSSOLFDEOH

        *  7KH GHIHQGDQW VKDOO SDUWLFLSDWH LQ DQ DSSURYHG SURJUDP IRU GRPHVWLF YLROHQFH LI RQH H[LVWV ZLWKLQ D PLOH UDGLXV RI
         GHIHQGDQW¶V OHJDO UHVLGHQFH &KHFN LI DSSOLFDEOHVHH  86&   G  IRU GHIHQGDQWV FRQYLFWHG RI D GRPHVWLF YLROHQFH
         FULPHGHILQHGLQ E 

       ,IWKLVMXGJPHQWLPSRVHVUHVWLWXWLRQDILQHRUVSHFLDODVVHVVPHQWLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\
        LQDFFRUGDQFHZLWKWKH6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW7KHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHURIDQ\
        PDWHULDOFKDQJHLQWKHGHIHQGDQW¶VHFRQRPLFFLUFXPVWDQFHVWKDWPLJKWDIIHFWWKHGHIHQGDQW¶VDELOLW\WRSD\DQ\XQSDLGDPRXQW
        RIUHVWLWXWLRQILQHRUVSHFLDODVVHVVPHQWV

       7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHIHGHUDOMXGLFLDOGLVWULFWZKHUHKHRUVKHLVDXWKRUL]HGWRUHVLGHZLWKLQ
        KRXUVRIUHOHDVHIURPLPSULVRQPHQWXQOHVVWKHSUREDWLRQRIILFHUWHOOVWKHGHIHQGDQWWRUHSRUWWRDGLIIHUHQWSUREDWLRQRIILFH
        RUZLWKLQDGLIIHUHQWWLPHIUDPH

       $IWHULQLWLDOO\UHSRUWLQJWRWKHSUREDWLRQRIILFHWKHGHIHQGDQWZLOOUHFHLYHLQVWUXFWLRQVIURPWKHFRXUWRUWKHSUREDWLRQRIILFHU
        DERXWKRZDQGZKHQWRUHSRUWWRWKHSUREDWLRQRIILFHUDQGWKHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDVLQVWUXFWHG

      7KHGHIHQGDQWPXVWQRWNQRZLQJO\OHDYHWKHIHGHUDOMXGLFLDOGLVWULFWZKHUHKHRUVKHLVDXWKRUL]HGWRUHVLGHZLWKRXWILUVWJHWWLQJ
        SHUPLVVLRQIURPWKHFRXUWRUWKHSUREDWLRQRIILFHU
               Case 2:16-cr-00017-TOR                    ECF No. 97           filed 10/19/16           PageID.403 Page 4 of 7
$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW$²6XSHUYLVHG5HOHDVH

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                                                                                                                -XGJPHQW²3DJH              RI
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                               STANDARD CONDITIONS OF SUPERVISION &RQWLQXHG
       7KHGHIHQGDQWPXVWEHWUXWKIXOZKHQUHVSRQGLQJWRWKHTXHVWLRQVDVNHGE\WKHSUREDWLRQRIILFHU

       7KHGHIHQGDQWPXVWOLYHDWDSODFHDSSURYHGE\WKHSUREDWLRQRIILFHU,IWKHGHIHQGDQWSODQVWRFKDQJHZKHUHKHRUVKHOLYHV
         RUDQ\WKLQJDERXWKLVRUKHUOLYLQJDUUDQJHPHQWV VXFKDVWKHSHRSOHWKHGHIHQGDQWOLYHVZLWK WKHGHIHQGDQWPXVWQRWLI\WKH
         SUREDWLRQRIILFHUDWOHDVWFDOHQGDUGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOHGXH
         WR XQDQWLFLSDWHG FLUFXPVWDQFHV WKH GHIHQGDQW PXVW QRWLI\ WKH SUREDWLRQ RIILFHU ZLWKLQ  KRXUV RI EHFRPLQJ DZDUH RI D
         FKDQJHRUH[SHFWHGFKDQJH

        7KHGHIHQGDQWPXVWDOORZWKHSUREDWLRQRIILFHUWRYLVLWWKHGHIHQGDQWDWUHDVRQDEOHWLPHVDWKLVRUKHUKRPHRUHOVHZKHUHDQG
          WKHGHIHQGDQWPXVWSHUPLWWKHSUREDWLRQRIILFHUWRWDNHDQ\LWHPVSURKLELWHGE\WKHFRQGLWLRQVRIWKHGHIHQGDQW¶VVXSHUYLVLRQ
          WKDWKHRUVKHREVHUYHVLQSODLQYLHZ

       7KHGHIHQGDQWPXVWZRUNIXOOWLPH DWOHDVWKRXUVSHUZHHN DWDODZIXOW\SHRIHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHU
         H[FXVHVWKHGHIHQGDQWIURPGRLQJVR,IWKHGHIHQGDQWGRHVQRWKDYHIXOOWLPHHPSOR\PHQWKHRUVKHPXVWWU\WRILQGIXOOWLPH
         HPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHVWKHGHIHQGDQWIURPGRLQJVR,IWKHGHIHQGDQWSODQVWRFKDQJHZKHUHWKH
         GHIHQGDQWZRUNVRUDQ\WKLQJDERXWKLVRUKHUZRUN VXFKDVWKHSRVLWLRQRUWKHMREUHVSRQVLELOLWLHV WKHGHIHQGDQWPXVWQRWLI\
         WKHSUREDWLRQRIILFHUDWOHDVWFDOHQGDUGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOH
         GXHWRXQDQWLFLSDWHGFLUFXPVWDQFHVWKHGHIHQGDQWPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUVRIEHFRPLQJDZDUHRID
         FKDQJHRUH[SHFWHGFKDQJH

       7KHGHIHQGDQWPXVWQRWFRPPXQLFDWHRULQWHUDFWZLWKVRPHRQHWKHGHIHQGDQWNQRZVLVHQJDJHGLQFULPLQDODFWLYLW\,IWKH
         GHIHQGDQWNQRZVVRPHRQHKDVEHHQFRQYLFWHGRIDIHORQ\WKHGHIHQGDQWPXVWQRWNQRZLQJO\FRPPXQLFDWHRULQWHUDFWZLWK
         WKDWSHUVRQZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKHSUREDWLRQRIILFHU

       ,I WKH GHIHQGDQW LV DUUHVWHG RU KDV DQ\ RIILFLDO FRQWDFW ZLWK D ODZ HQIRUFHPHQW RIILFHU LQ D FLYLO RU FULPLQDO LQYHVWLJDWLYH
         FDSDFLW\WKHGHIHQGDQWPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUV

       7KHGHIHQGDQWPXVWQRWDFWRUPDNHDQ\DJUHHPHQWZLWKDODZHQIRUFHPHQWDJHQF\WRDFWDVDFRQILGHQWLDOKXPDQVRXUFHRU
         LQIRUPDQWZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKHFRXUW

       7KHGHIHQGDQWPXVWIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHUUHODWHGWRWKHFRQGLWLRQVRIVXSHUYLVLRQ
             Case 2:16-cr-00017-TOR                    ECF No. 97   filed 10/19/16       PageID.404 Page 5 of 7
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           6KHHW'²6XSHUYLVHG5HOHDVH
                                                                                                  -XGJPHQW²3DJH     5     RI       7
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&$6(180%(5 2:16CR00017-TOR-1

                                         SPECIAL CONDITIONS OF SUPERVISION
 (19) The defendant is prohibited from returning to the United States without advance legal permission from the United States Attorney
 General or his designee. Should the defendant reenter the United States, the defendant is required to report to the probation office
 within 72 hours of reentry.
               Case 2:16-cr-00017-TOR                  ECF No. 97        filed 10/19/16        PageID.405 Page 6 of 7
$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                   -XGJPHQW²3DJH      6      RI         7
'()(1'$17 JESUS CORTEZ-HERNANDEZ
&$6(180%(5 2:16CR00017-TOR-1
                                                CRIMINAL MONETARY PENALTIES
     7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                      Assessment                                    Fine                                  Restitution
TOTALS                $200.00                                       $0.00                                 $0.00


G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO           $QAmended Judgment in a Criminal Case $2& ZLOOEHHQWHUHG
    DIWHUVXFKGHWHUPLQDWLRQ

G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
    ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
    WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
    EHIRUHWKH8QLWHG6WDWHVLVSDLG

Name of Payee                                                        Total Loss*          Restitution Ordered        Priority or Percentage




TOTALS                                                    0.00                                  0.00


G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

      G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH G ILQH G UHVWLWXWLRQ
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH G ILQH G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRUDIWHU
6HSWHPEHUEXWEHIRUH$SULO
               Case 2:16-cr-00017-TOR                    ECF No. 97         filed 10/19/16      PageID.406 Page 7 of 7
$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH      7     RI       7
'()(1'$17 JESUS CORTEZ-HERNANDEZ
&$6(180%(5 2:16CR00017-TOR-1

                                                        SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A     G    /XPSVXPSD\PHQWRI                            GXHLPPHGLDWHO\EDODQFHGXH

           G     QRWODWHUWKDQ                                   RU
           G     LQDFFRUGDQFH           G &          G '   G     (RU    G )EHORZRU
B     ✔ 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK
      G                                                                     G &     G 'RU     ✔)EHORZ RU
                                                                                                 G
C     G    3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                        HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D     G    3D\PHQWLQHTXDO                     HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                    RYHUDSHULRGRI
                         HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

E     G    3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                  HJRUGD\V DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F     ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
      G
     Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
     penalties are payable on a quarterly basis of not less than $25.00 per quarter.

     While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
     defendant's net household income, whichever is larger, commencing 30 days after the defendant is released from imprisonment.


8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
GXULQJLPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPDWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW&RXUW$WWHQWLRQ
)LQDQFH32%R[6SRNDQH:$

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

G     -RLQWDQG6HYHUDO

      'HIHQGDQWDQG&R'HIHQGDQWV1DPHVDQG&DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU 7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
      DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G     7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

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G     7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV




3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
